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                    UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

__________________________________________________________________

UNITED STATES OF AMERICA,                      Criminal No. 04-463(1) (RHK)

                    Plaintiff,                          ORDER

v.

EVELYN JEANETTE JOHNSON,

                 Defendant.
__________________________________________________________________


       Defendant’s Motion to Extend Voluntary Surrender Date (Doc. No. 93) is

DENIED.



Dated : December 7, 2005

                                       s/Richard H. Kyle
                                       RICHARD H. KYLE
                                       United States District Judge
